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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Charlottesville Division

   ELIZABETH SINES, et al.,                      )       Civil Action No. 3:17-cv-00072
        Plaintiffs,                              )
                                                 )
   v.                                            )       ORDER
                                                 )
   JASON KESSLER, et al.,                        )
        Defendants.                              )       By:    Joel C. Hoppe
                                                 )              United States Magistrate Judge


          This matter is before the Court on Plaintiffs’ nondispositive “Motion to De-Designate

   Certain Documents Designated as Confidential or Highly Confidential,” ECF No. 1215, and

   accompanying motion to seal the subject materials, ECF No. 1216. See Pretrial Order ¶ 12

   (“Nondispositive motions, . . . whether or not opposed, may be acted upon at any time by the

   court, without awaiting a response, and any party adversely affected by such action may request

   reconsideration, vacation or modification.”), ECF No. 101. The subject materials are documents

   and audio or visual recordings that Plaintiffs intend to introduce as exhibits at the upcoming jury

   trial, but that certain Defendants designated as “Confidential” or “Highly Confidential” when

   they produced those materials in discovery. See Pls.’ Mot. App’x A, at 2–8 (Defendants Ray,

   Schoep/National Socialist Movement, Vanguard America, and Cantwell), ECF No. 1215-1.

   Under the Protective Order, ECF No. 167, a “Producing Party may designate as Confidential any

   information that the Producing Party, in good faith, believes should be protected from public

   disclosure,” and may designate as “Highly Confidential any . . . personal information,” such as

   home addresses, telephone numbers, non-party surnames, or banking information “of any person,

   that the Producing Party, in good faith, believes should be protected from disclosure to those not

   permitted to receive Highly Confidential Information,” id. ¶ 3(a)–(b).



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          As relevant here, the Protective Order prohibits Plaintiffs from furnishing, showing, or

   disclosing any “Confidential” or “Highly Confidential” information to the jurors and members of

   the public without a court order authorizing such disclosure. See id. ¶¶ 4–5, 19. Having reviewed

   the documents and recordings listed in Appendix A to Plaintiffs’ motion, ECF No. 1215-1, the

   Court finds that these materials, even if properly designated as “Confidential” or “Highly

   Confidential” by the producing Defendant during pretrial discovery, need not be protected from

   public disclosure during the conduct of this trial. Cf. W.D. Va. Gen. R. 9 (“Case law protects

   generally the right of public access to documents filed in court, both under the First Amendment

   and the common law.” (citing Va. Dept of State Police v. Washington Post, 386 F.3d 567, 575

   (4th Cir. 2004)). Accordingly, Plaintiffs’ motion to de-designate the subject materials, ECF No.

   1215, is GRANTED. The accompanying motion to seal, ECF No. 1216, is DENIED as moot.

          IT IS SO ORDERED.



                                                        ENTER: October 22, 2021



                                                        Joel C. Hoppe
                                                        U.S. Magistrate Judge




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